                          Case 1:18-cr-00182-DAD-SKO Document 22 Filed 09/28/18 Page 1 of 2
0 98 (Rev. 12/11- EDCA [Fresno 11/13]) Appearance and Compliance Bond



                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                Eastern District of California
NITED STATES OF AMERICA,
                                                                        )
                                v.                                      )
                                                                        )
                                                                               Case No.
                                                                        )
LFEGO ALCALA                                                            )
                            Defendant

                                          APPEARANCE AND COMPLIANCE BOND

                                                        Defendant's Agreement
   ELFEGO ALCALA                                              (defendant), agree to follow every order of this court, or any
mrt that considers this case, and I further agree that this bond may be forfeited ifl fail:
         ( Rl ) to appear for court proceedings;
         ( M ) if convicted, to surrender to serve a sentence that the court may impose; or
         ( Ri ) to comply with all conditions set forth in any Order Setting Conditions of Release for me.

                                                              Type ofBond
D ) (1) This is a personal recognizance bond.

0 ) (2) This is an unsecured bond of$               ----------------~-----
                                                                                            , with net worth of: $

~ ) (3)     This is a secured bond of$            Full equity property bond         , secured by:

      ( D) (a) $ _______________ , in cash deposited with the court.

      ( D ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan- and attach proof of
              - ownership and value):



               If this bond is secured by real property, documents to protect the secured interest may be filed of record.

      ( D ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                  ~orfeiture or Release of the Bond


Jrjeiture of the Bond This appearance bond may be forfeited if the defendant does not comply with the above
reement. The court may immediately order the amount of the bond surrendered to the United States, including the
curity for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
ay order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
terest and costs.
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                   v.                                                                                                        Page 2

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  ~lease of the Bond.   The court may order this appearance bond ended at any time. This bond will be satisfied and the
   curity will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
  :rve a sentence.

                                                                  Declarations

 wnership of the Property/Net Worth. I, the defendant- and each surety- declare under penalty of perjury that:
         (1)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not reduce my net worth, sell any property, allow further claims to be made against any property,
                   or do anything to reduce the value while this Appearance and Compliance Bond is in effect.

 cceptance. I, the defendant- and each surety -have read this appearance bond and have either read all the condttions
 f release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.

 , the defendant- and each surety- declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)


 )ate:




               Surety/property owner -printed name                               Surety/property owner- signature and date




               Surety/property owner- printed name                               Surety/property owner- signature and date




               Surety/property owner- printed name




Date:    ~ f ~ [)'
Approved.

Date:    ct(z,'Z /r~
           {       I
